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12

13                              IN THE UNITED STATES DISTRICT COURT

14                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

15                                       SAN FRANCISCO DIVISION

16   ALEXIS HUNLEY, et al.,                             Case No. 3:21-cv-03778-CRB

17                               Plaintiffs,
                                                        JOINT STIPULATION TO EXTEND TIME
18         v.                                           TO RESPOND TO FIRST AMENDED
                                                        COMPLAINT FOR DAMAGES BASED ON
19   INSTAGRAM, LLC,                                    COPYRIGHT INFRINGEMENT (L.R. 6-1)

20                               Defendant.             Ctrm: 6
                                                        Judge: Honorable Charles R. Breyer
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                 JOINT STIPULATION TO EXTEND TIME TO RESPOND TO FIRST AMENDED COMPLAINT /
                                          CASE NO. 3:21-CV-03778-CRB
              Case 3:21-cv-03778-CRB Document 30 Filed 10/28/21 Page 2 of 4



 1          Pursuant to Civil Local Rule 6-1, Defendant Instagram, LLC (“Defendant”) and Plaintiffs Alexis

 2   Hunley and Matthew Scott Brauer, individually and on behalf of all others similarly situated

 3   (“Plaintiffs”) (jointly, the “Parties”), through their undersigned counsel, hereby stipulate that Defendant

 4   shall have until November 19, 2021 to respond to Plaintiffs’ First Amended Complaint For Damages

 5   Based on Copyright Infringement (“First Amended Complaint”), Plaintiffs shall have until December 17,

 6   2021 to oppose any motion to dismiss the First Amended Complaint, and Defendant shall have until

 7   January 14, 2022 to reply to any such opposition. This stipulated extension of time to respond will not

 8   conflict with any deadline fixed by the Court, and therefore, pursuant to Local Rule 6-1(a), no court order

 9   is necessary for this enlargement of time.

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11   Dated: October 28, 2021                              DURIE TANGRI LLP
12
                                                    By:                    /s/ Ragesh K. Tangri
13
                                                                          RAGESH K. TANGRI
14                                                                         JOSEPH C. GRATZ
                                                                         ALLYSON R. BENNETT
15                                                                            ANNIE A. LEE

16                                                        Attorneys for Defendant Instagram, LLC

17

18   Dated: October 28, 2021                              CERA LLP

19
                                                    By:                    /s/ Solomon B. Cera
20                                                                        SOLOMON B. CERA
                                                                          THOMAS C. BRIGHT
21                                                                       PAMELA A. MARKERT
22                                                        Attorneys for Plaintiffs and the Proposed Class
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                JOINT STIPULATION TO EXTEND TIME TO RESPOND TO FIRST AMENDED COMPLAINT /
                                         CASE NO. 3:21-CV-03778-CRB
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 1                                      CIVIL L.R. 5-1 ATTESTATION

 2          Pursuant to Civil L.R. 5-1(i)(3), regarding signatures, I, Ragesh K. Tangri, attest that concurrence
 3   in the filing of this document has been obtained.
 4
                                                                     /s/ Ragesh K. Tangri
 5                                                                  RAGESH K. TANGRI
                                                                     JOSEPH C. GRATZ
 6                                                                 ALLYSON R. BENNETT
                                                                        ANNIE A. LEE
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                                         CASE NO. 3:21-CV-03778-CRB
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 1                                       CERTIFICATE OF SERVICE

 2          I hereby certify that on October 28, 2021 the within document was filed with the Clerk of the
 3   Court using CM/ECF which will send notification of such filing to the attorneys of record in this case.
 4
                                                                     /s/ Ragesh K. Tangri
 5                                                                  RAGESH K. TANGRI
                                                                     JOSEPH C. GRATZ
 6                                                                 ALLYSON R. BENNETT
                                                                        ANNIE A. LEE
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